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                       EXHIBIT C
      Parties to Litigation Pending in the United States




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 Litigation Counterparty            Debtor                  Counterparty Address
NexUS 1, LLC               Nexii Building Solutions   101 Carleton Avenue
                           Inc.                       Hazleton, PA 18201

                                                      c/o Silverang Rosenzweig &
                                                      Haltzman
                                                      Attn: Mark S. Haltzman and
                                                      William Carl Katz
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                                                      King of Prussia, PA 19406
                                                      mhaltzman@sanddlawyers.com
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                                                      c/o Sullivan Hazeltine Allinson
                                                      LLC
                                                      Attn: William D. Sullivan
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                                                      William Carl Katz
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                           Inc.                       Haltzman
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John Wolfington            Nexii Building Solutions   c/o Silverang Rosenzweig &
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